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12                                  UNITED STATES DISTRICT COURT
13                               NORTHERN DISTRICT OF CALIFORNIA
14
      JOYCE BENTON, MELISSA GRECO,                           CASE NO.: 3:22-CV-01640-RS
15    ANTHONY SWETALA, AND RALPH
      MILAN,
16
                                         Plaintiffs,         PLAINTIFFS’ STATEMENT OF RECENT
17                                                           DECISION
                     v.
18                                                           Date: June 9, 2022
      CVS HEALTH CORPORATION AND CVS                         Time: 1:30 PM
19    PHARMACY, INC.,                                        Courtroom: 37, 17th Floor
                                                             Judge: Richard Seeborg
20                                       Defendants.
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     Plaintiffs’ Statement of Recent Decision; CASE NO. 3:22-CV-01640-RS
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 1           Pursuant to L.R.7-3(d)(2), Plaintiffs respectfully submit this Statement of Recent Decision to

 2   bring to the Court’s attention the recent decision in Brown v. Van’s Int’l Foods, Inc., 2022 U.S. Dist.

 3   LEXIS 84477, 2022 WL 1471454, 22-cv-0001-WHO (N.D. Cal. May 10, 2022), a true and correct

 4   copy which is attached hereto as Exhibit A. Brown was decided after Plaintiffs’ Response in

 5   Opposition to Defendants’ Motion to Dismiss which was filed on April 5, 2022, and is appropriate for

 6   consideration by the Court. See Civil L.R. 7-3(d)(2) (“Before the noticed hearing date, counsel may

 7   bring to the Court’s attention a relevant judicial opinion published after the date the opposition or reply

 8   was filed by filing and serving a Statement of Recent Decision” containing a citation to a copy of the

 9   new opinion without argument.) Brown is relevant to Defendant CVS Pharmacy, Inc.’s pending

10   Motion to Dismiss (Dkt. 12, pp. 7-8) with respect to its preemption argument under Buckman Co. v.

11   Plaintiffs’ Legal Comm., 531 U.S. 341, 353 (2001), and Plaintiffs’ Opposition thereto (Dkt. 19, pp. 8-

12   14).

13                                                  Respectfully submitted,

14    DATED: May 19, 2022                           FEINSTEIN DOYLE PAYNE & KRAVEC, LLC
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     Plaintiffs’ Statement of Recent Decision; CASE NO. 3:22-CV-01640-RS
